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The Honorable James L. Robart

UNITED STATES DISTRICT COURT _
WESTERN DISTRICT OF WASHINGTON

_AT SEATTLE
MYRIAM ZAYAS, NO, 2:20-cv-00981 JLR-TLF
Plaintiff, ORDER OF DISMISSAL WITH
PREJUDICE AS TO DEFENDANTS
ve , DEPARTMENT OF CHILDREN,
YOUTH AND FAMILIES; KEJANA
STATE OF WASHINGTON BLACK; AND LONETTE
DEPARTMENT OF CHILDREN, DOMINGUEZ
YOUTH AND FAMILIES, et al.,
exponen)
Defendants.

 

 

The Court, having: duly considered the foregoing stipulation of the parties, hereby
grants plaintiff s request to voluntarily dismiss the above-captioned action with prejudice with
regards to defendants Department of Children, Youth and Families, Kejana Black, and Lonette

Dominguez, each side to bear their own respective fees and costs.

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Dated this $"" day of October, 2020. Cl 0 Ql

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The Honorable James L. Robart
UNITEDISTATES. DISTRICT JUDGE

ORDER OF DISMISSAL 1 ATTORNEY GENERAL OF WASHINGTON
Torts Division
(PROPOSED) 7141 Cleanwater Drive SW
PO Box 40126

Olympia, WA 98504-0126
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Case 2:20-cv-009

Presented by:

ROBERT W., FERGUSON
Attorney General

/s/ Brendan Lenihan

 

BRENDAN LENIHAN, WSB No. 56066
PETER KAY, WSB No. 24331

Assistant Attorneys General

Attorneys for Defendants

ORDER OF DISMISSAL
(PROPOSED)

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Approved as to form:

/S/ Myriam Zayas

 

Myriam Zayas
Plaintiff

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